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FILED IN THE U.S. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, Case No.: 2:24-cr-00007-TOR
Plaintiff, Plea Agreement
V.
CATLIN RAY SARGENT,
Defendant.

Plaintiff United States of America, by and through Vanessa R. Waldref,
United States Attorney the Eastern District of Washington, and Michael L.
Vander Giessen, Assistant United States Attorney for the Eastern District of
Washington, and Defendant Catlin Ray Sargent (“Defendant”), both
individually and by and through Defendant’s counsel, Molly M. Winston, agree
to the following Plea Agreement.

1. Guilty Plea and Maximum Statutory Penalties

Defendant agrees to enter a plea of guilty to Count 2 of the Indictment,
which charges Defendant with Simple Assault on an Aircraft, in violation of 18
U.S.C. § 113(a)(5) and 49 U.S.C. § 46506(1), a Class B misdemeanor.

Defendant understands that the following potential penalties apply:

a. a term of imprisonment of not more than 6 months;

b. a term of probation of not more than 5 years or a term of
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supervised release of not more than 1 year;
C. a fine of up to $5,000;
d. restitution; and
e. a $10 special penalty assessment.
2. Probation
Defendant understands that if the Court imposes probation and Defendant
violates any condition of Defendant’s probation, pursuant to 18 U.S.C.
§ 3565(a)(2), the Court may revoke Defendant’s term of probation and
resentence Defendant under 18 U.S.C. Part II, Chapter 227, Subchapter A
(§§ 3551 through 3559). Defendant further understands that upon such
resentencing, the Court may impose the potential penalties outlined in
Paragraph 1 above, including a term of imprisonment of not more than 6
months; a term of supervised release of not more than 1 year; and a fine of up to
$5,000.

3, Supervised Release

Defendant understands that if the Court imposes supervised release and
Defendant violates any condition of Defendant’s supervised release, the Court may
revoke Defendant’s term of supervised release, and require Defendant to serve in
prison all or part of the term of supervised release authorized by statute for the
offense that resulted in such term of supervised release without credit for time
previously served on post-release supervision, up to the following terms:

a. 5 years in prison if the offense that resulted in the term of
supervised release is a class A felony,

b. 3 years in prison if the offense that resulted in the term of
supervised release is a class B felony,

c. 2 years in prison if the offense that resulted in the term of
supervised release is a class C felony, or

d. 1 year in prison in any other case.

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Accordingly, Defendant understands that if Defendant commits one or more

violations of supervised release, Defendant could serve a total term of

incarceration greater than the maximum sentence authorized by statute for

Defendant’s offense or offenses of conviction.

4, The Court is Not a Party to this Plea Agreement

The Court is not a party to this Plea Agreement and may accept or reject

it. Defendant acknowledges that no promises of any type have been made to

Defendant with respect to the sentence the Court will impose in this matter.

Defendant understands the following:

a.

b.

sentencing is a matter solely within the discretion of the Court;
the Court is under no obligation to accept any recommendations
made by the United States or Defendant;

the Court will obtain an independent report and sentencing
recommendation from the United States Probation Office;

the Court may exercise its discretion to impose any sentence it
deems appropriate, up to the statutory maximum penalties;

the Court is required to consider the applicable range set forth
in the United States Sentencing Guidelines, but may depart
upward or downward under certain circumstances; and

the Court may reject recommendations made by the United
States or Defendant, and that will not be a basis for Defendant
to withdraw from this Plea Agreement or Defendant’s guilty

plea.

5. Potential Immigration Consequences of Guilty Plea

If Defendant is not a citizen of the United States, Defendant understands the

following:

a.

pleading guilty in this case may have immigration

consequences,

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b. a broad range of federal crimes may result in Defendant’s
removal from the United States, including the offense to which
Defendant is pleading guilty;
c. removal from the United States and other immigration
consequences are the subject of separate proceedings; and
d. no one, including Defendant’s attorney or the Court, can predict
with absolute certainty the effect of a federal conviction on
Defendant’s immigration status.
Defendant affirms that Defendant is knowingly, intelligently, and voluntarily
pleading guilty as set forth in this Plea Agreement, regardless of any immigration
consequences that Defendant’s guilty plea may entail.

6. Waiver of Constitutional Rights

Defendant understands that by entering this guilty plea, Defendant is

knowingly and voluntarily waiving certain constitutional rights, including the

following:
a the right to a jury trial;
b. __ the right to see, hear and question the witnesses;
c. the right to remain silent at trial;

d. the right to testify at trial; and
e. the right to compel witnesses to testify.

While Defendant is waiving certain constitutional rights, Defendant
understands that Defendant retains the right to be assisted by an attorney through
the sentencing proceedings in this case and any direct appeal of Defendant’s
conviction and sentence, and that an attorney will be appointed at no cost if
Defendant cannot afford to hire an attorney.

Defendant understands and agrees that any defense motions currently
pending before the Court are mooted by this Plea Agreement, and Defendant

expressly waives Defendant’s right to bring any additional pretrial motions.

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7. Elements of the Offense

The United States and Defendant agree that in order to convict Defendant of

Simple Assault on an Aircraft, in violation of 18 U.S.C. § 113(a)(5) and 49 U.S.C.
§ 46506(1), the United States would have to prove the following beyond a

reasonable doubt.

a. First, on or about June 3, 2023, Defendant intentionally
assaulted H.J.O.;
b. Second, the assault occurred in flight while Defendant was on

an aircraft in the special aircraft jurisdiction of the United
States; and

c. Third, the flight on which the assault occurred landed in the
Eastern District of Washington.

8. Factual Basis and Statement of Facts

The United States and Defendant stipulate and agree to the following: the
facts set forth below are accurate; the United States could prove these facts beyond
a reasonable doubt at trial; and these facts constitute an adequate factual basis for
Defendant’s guilty plea.

The United States and Defendant agree that this statement of facts does not
preclude either party from presenting and arguing, for sentencing purposes,
additional facts that are relevant to the Sentencing Guidelines computation or
sentencing, unless otherwise prohibited in this Plea Agreement.

On June 3, 2023, during a commercial flight that landed in the Eastern
District of Washington, Defendant touched the thigh of H.J.O., a female passenger
seated next to him, and did so on top of her clothing and without her consent.
H.J.O. reported Defendant committed this unwanted touching during descent into
the Spokane International Airport on Delta Airlines flight number 416, which
originated from Salt Lake City, Utah. H.J.O. reported that during descent,
Defendant started rubbing her left leg with his right hand. H.J.O. said Defendant

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moved his hand around her leg and around her thigh. H.J.O. said Defendant then
started making movements with his hand and fingers that she found disgusting.
H.J.O. said she told Defendant to please stop in a loud voice. A witness
corroborated seeing Defendant rubbing and leaning over H.J.O., and hearing
H.J.O. tell Defendant not to touch her. A flight attendant responded and moved
H.J.O. to another seat away from Defendant.

In light of the foregoing, Defendant admits that on June 3, 2023, he
intentionally assaulted H.J.O. by willfully and intentionally touching and making
physical contact with her without justification or excuse in a manner a reasonable
person would deem offensive. Defendant further admits the assault occurred in
flight while Defendant was on an aircraft in the special aircraft jurisdiction of the
United States, and the flight on which the assault occurred landed in the Eastern
District of Washington.

9. The United States’ Agreements

The United States Attorney’s Office for the Eastern District of Washington
agrees that at the time of sentencing, the United States will move to dismiss Count
1 of the Indictment, which charges Defendant with Abusive Sexual Contact on an
Aircraft, in violation of 18 U.S.C. § 2244(a)(2) and 49 U.S.C. § 46506(1).

The United States Attorney’s Office for the Eastern District of Washington
agrees not to bring additional charges against Defendant based on information in
its possession at the time of this Plea Agreement that arise from conduct charged in
the Indictment, unless Defendant breaches this Plea Agreement any time before or
after sentencing.

10. United States Sentencing Guidelines Calculations

Defendant understands and acknowledges that the United States Sentencing
Guidelines (“U.S.S.G.” or “Guidelines”) apply and that the Court will determine
Defendant’s advisory range at the time of sentencing, pursuant to the Guidelines.

The United States and Defendant agree to the following Guidelines calculations.

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a. Base Offense Level

The United States and Defendant agree that the base offense level is 7
because the offense involved physical contact. See USSG § 2A2.3(a)(1).

b. Special Offense Characteristics

The United States and Defendant make no agreement with respect to specific
offense characteristics.

Cc. Acceptance of Responsibility

If Defendant clearly accepts responsibility for the offense, Defendant will be
entitled to a reduction of two levels in the combined adjusted offense level, under
U.S.S.G. § 3E1.1(a). The Government will move for an additional one-level
reduction in the combined offense level under U.S.S.G. § 3E1.1(b) if the following
conditions are met: (1) Defendant qualifies for a decrease under U.S.S.G.

§ 3E1.1(a); (2) the offense level determined prior to the operation of U.S.S.G.

§ 3E1.1(a) is level 16 or greater; (3) Defendant entered a guilty plea at the first
court hearing that takes place after this Plea Agreement is offered, thereby
permitting the United States to avoid preparing for trial and permitting the Court to
allocate its resources efficiently; and (4) Defendant has provided complete and
accurate information during the sentencing process. If, before sentence is imposed,
Defendant fails to meet the criteria set out in U.S.S.G. § 3E1.1 or acts in a manner
inconsistent with acceptance of responsibility, the Government will withdraw or
not make such a recommendation.

Defendant and the United States agree that at its option and on written notice
to Defendant, the United States may elect not to recommend a reduction for
acceptance of responsibility if, prior to the imposition of sentence, Defendant is
charged with, or convicted of, any criminal offense, or if Defendant tests positive
for any controlled substance.

d. No Other Agreements

The United States and Defendant have no other agreements regarding the

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Guidelines or the application of any Guidelines enhancements, departures, or
variances. Defendant understands and acknowledges that the United States is free
to make any sentencing arguments it sees fit, within the bounds of this Plea
Agreement, including arguments arising from Defendant’s uncharged conduct,
conduct set forth in charges that will be dismissed pursuant to this Plea Agreement,
and Defendant’s relevant conduct.

e. Criminal History

The United States and Defendant have no agreement and make no
representations about Defendant’s criminal history category, which will be
determined by the Court after the United States Probation Office prepares and
discloses a Presentence Investigation Report.

11. Joint Sentencing Recommendation

Based upon review of the 18 U.S.C. § 3553(a) factors, the United States and

Defendant agree to jointly recommend that the Court impose no term of
imprisonment. The United States and Defendant agree to jointly recommend that,
in lieu of any term of imprisonment, the Court impose a term of five (5) years’
probation. Defendant may seek early termination of probation after three (3)
consecutive years of compliance with all conditions of probation. Defendant agrees
that the Court’s decision regarding the length, terms, and conditions of Defendant’s
probation is final and non-appealable; that is, even if Defendant is unhappy with
the conditions of probation ordered by the Court, that will not be a basis for
Defendant to withdraw Defendant’s guilty plea, withdraw from this Plea
Agreement, or appeal Defendant’s conviction, sentence, or any term of probation.

The United States and Defendant agree to recommend that in addition to the
standard conditions of probation imposed in all cases in this District, the Court
should also impose the following conditions:

a. The United States Probation Officer may conduct, upon

reasonable suspicion, and with or without notice, a search of

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Defendant’s person, residences, offices, vehicles, belongings,
and areas under Defendant’s exclusive or joint control.

b. Defendant shall participate in and complete a substance use
disorder evaluation and any treatment program, if
recommended.

C. Defendant shall participate in and complete a mental health
evaluation and any treatment program, if recommended.

d. Defendant shall participate in and complete such additional
alcohol or controlled substance testing and treatment programs
as the Probation Officer directs.

e. For any evaluation or treatment program Defendant is directed
to complete, Defendant shall allow reciprocal release of
information between the Probation Officer and the treatment
provider. Defendant shall contribute to the cost of treatment
according to Defendant’s ability.

12. Criminal Fine and Restitution

The United States and Defendant agree to jointly recommend that the Court
impose no criminal fine. The United States and Defendant agree to jointly
recommend that, in lieu of any criminal fine, the Court award $5,000 in restitution
to H.J.O. to cover her future counseling costs.

Defendant acknowledges that the Court’s decisions regarding a fine or
restitution are final and non-appealable; that is, even if Defendant is unhappy with
a fine or restitution ordered by the Court, that will not be a basis for Defendant to
withdraw Defendant’s guilty plea, withdraw from this Plea Agreement, or appeal
Defendant’s conviction, sentence, or fine or restitution order.

13. Mandatory Special Penalty Assessment

Defendant agrees to pay the $10 mandatory special penalty assessment to the

Clerk of Court for the Eastern District of Washington, pursuant to 18 U.S.C.

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§ 3013.

14. Payments While Incarcerated

If Defendant lacks the financial resources to pay the monetary obligations
imposed by the Court, Defendant agrees to earn money to pay toward these
obligations by participating in the Bureau of Prisons’ Inmate Financial
Responsibility Program, if Defendant is or becomes eligible to participate in that
program.

15. Additional Violations of Law Can Void Plea Agreement

The United States and Defendant agree that the United States may, at its
option and upon written notice to Defendant, withdraw from this Plea Agreement
or modify its sentencing recommendation if, prior to the imposition of sentence,
Defendant is charged with or convicted of any criminal offense or tests positive for
any controlled substance.

16. Waiver of Appeal Rights

Defendant understands that Defendant has a limited right to appeal or

challenge Defendant’s conviction and the sentence imposed by the Court.
Defendant expressly waives all of Defendant’s rights to appeal Defendant’s
conviction and the sentence the Court imposes.
Defendant expressly waives Defendant’s right to appeal any fine, term of
probation or supervised release, or restitution order imposed by the Court.
Defendant expressly waives the right to file any post-conviction motion
attacking Defendant’s conviction and sentence, including a motion pursuant to 28
U.S.C. § 2255, except one based on ineffective assistance of counsel arising from
information not now known by Defendant and which, in the exercise of due
diligence, Defendant could not know by the time the Court imposes sentence.
Nothing in this Plea Agreement shall preclude the United States from
opposing any post-conviction motion for a reduction of sentence or other attack

upon the conviction or sentence, including, but not limited to, writ of habeas

PLEA AGREEMENT - 10
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corpus proceedings brought pursuant to 28 U.S.C. § 2255.
17. Withdrawal or Vacatur of Defendant’s Plea

Should Defendant successfully move to withdraw from this Plea Agreement
or should Defendant’s conviction be set aside, vacated, reversed, or dismissed

under any circumstance, then:

a. this Plea Agreement shall become null and void;

b. the United States may prosecute Defendant on all available
charges;

c. the United States may reinstate any counts that have been

dismissed, have been superseded by the filing of another
charging instrument, or were not charged because of this Plea
Agreement; and

d. the United States may file any new charges that would
otherwise be barred by this Plea Agreement.

The decision to pursue any or all of these options is solely in the discretion
of the United States Attorney’s Office.

Defendant agrees to waive any objections, motions, and/or defenses
Defendant might have to the United States’ decisions to seek, reinstate, or reinitiate
charges if a count of conviction is withdrawn, set aside, vacated, reversed, or
dismissed, including any claim that the United States has violated Double
Jeopardy.

Defendant agrees not to raise any objections based on the passage of time,
including but not limited to, alleged violations of any statutes of limitation or any
objections based on the Speedy Trial Act or the Speedy Trial Clause of the Sixth
Amendment.

18. Integration Clause

The United States and Defendant acknowledge that this document

constitutes the entire Plea Agreement between the United States and Defendant,

PLEA AGREEMENT - 11
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and no other promises, agreements, or conditions exist between the United States
and Defendant concerning the resolution of the case.

This Plea Agreement is binding only on the United States Attorney’s Office
for the Eastern District of Washington, and cannot bind other federal, state, or local
authorities.

The United States and Defendant agree that this Agreement cannot be
modified except in a writing that is signed by the United States and Defendant.

Approvals and Signatures

Agreed and submitted on behalf of the United States Attorney’s Office for
the Eastern District of Washington.

Vanessa R. Waldref
United States Attorney

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Michael L. Vander Giessen Date

Assistant United States Attorney

[ have read this Plea Agreement and I have carefully reviewed and discussed
every part of this Plea Agreement with my attorney. I understand the terms of this
Plea Agreement. I enter into this Plea Agreement knowingly, intelligently, and
voluntarily. I have consulted with my attorney about my rights, I understand those
rights, and I am satisfied with the representation of my attorney in this case. No
other promises or inducements have been made to me, other than those contained
in this Plea Agreement. No one has threatened or forced me in any way to enter

into this Plea Agreement. I agree to plead guilty because I am guilty.

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Catlin Ray Sargent Date
Defendant

I have read the Plea Agreement and have discussed the contents of the

agreement with my client. The Plea Agreement accurately and completely sets

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forth the entirety of the agreement between the parties. I concur in my client’s

decision to plead guilty as set forth in the Plea Agreement. There is no legal reason

why the Aff; We Defendant’s guilty plea.
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Date

Molly M. Winston  =/
Attorney f¢r Defendant

PLEA AGREEMENT - 13
